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 IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                OHIO

                                   WESTERN DIVISION

NATHANIEL HAKE                                        Case No.
4919 Wolverton Rd.
Eaton, Ohio 45320


NATHAN HAKE FARMS, LLC.

4919 Wolverton Rd.
Eaton, Ohio 45320


WHEEL POLISHING PROS, LLC

4919 Wolverton Rd.
Eaton, Ohio 45320


Plaintiffs,



v.

SHERIFF MICHAEL SIMPSON
Sued in both his individual and official capacities
Preble County, Ohio Sheriff’s Office
1139 Preble Drive,
Eaton, OH 45320.

DEPUTY MICHAEL SPITLER
Sued in both his individual and official capacities
Preble County, Ohio Sheriff’s Office
1139 Preble Drive,
Eaton, OH 45320.

DEPUTY PAUL PLAUGHER
Sued in both his individual and official capacities
Preble County, Ohio Sheriff’s Office
1139 Preble Drive,
Eaton, OH 45320
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DEPUTY RAYMOND HATFIELD
Sued in both his individual and official capacities
Preble County, Ohio Sheriff’s Office
1139 Preble Drive,
Eaton, OH 45320

RANDY JOHNSON
Sued in his individual capacity
3200 Swain Rd.
Eaton OH 45320

PAMELA JOHNSON
Sued in her individual capacity
3200 Swain Rd.
Eaton OH 45320


GLEN BLACKER
Sued in his individual capacity
4415 West Florence-Campbellstown Rd.
Eaton, OH 45320


JAMES C ELLIS
Sued in his individual capacity
1200 Talbot Tower 131 N Ludlow St.
Dayton Ohio 45402

NOBLE OPPORTUNITY FUND II, LP
Sued in its individual and corporate capacities
1817 Olde Homestead Lane, Suite 101
Lancaster, PA. 17601

GREENWICH INVESTORS XLVIII TRUST 2014-1
Sued in its individual and corporate capacities
WMD Asset Management, LLC.
6279 Dupont Station Court
Jacksonville, FL. 32217

LCNB BANK
Sued in its individual and corporate capacities
2 N. Broadway
Lebanon, OH 45036
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JEFF MEEKER
2 N. Broadway
Lebanon, OH 45036

MARK FLORENCE
Kaufman and Florence Attorneys at law
P.O. Box 280
44 East Mulberry Street
Lebanon, OH. 45036



       Defendants                                            COMPLAINT




       Plaintiffs, Nathaniel Hake, Nathan Hake Farms, LLC and Wheel Polishing Pros, LLC.,
through their attorney state as follows:

                                            Jurisdiction

1. This action is brought pursuant to 42 U. S. C. §§1983, 1985 and 1988 and the Fifth and

Fourteenth Amendments to the United States Constitution, 11 U.S.C. §§362 and 1201 and, 15

U.S.C. §1692. Jurisdiction is founded on 28 U. S. C. §§1331 and 1341(3) and (4) and 1343 and

the aforementioned constitutional and statutory provisions. The declaratory and injunctive relief

sought is authorized by 28 U. S. C. §§ 2201 and 2202, 42 U.S.C. §1983 and Rule 57 Federal

Rules of Civil Procedure. Additionally, the Plaintiffs invoke this Court’s supplemental

jurisdiction, pursuant to 28 U. S. C.§1367(a), of state causes of action included herein since they

are involved in the facts, law and issues of this matter.


                                               Parties
2. Plaintiff Nathaniel Hake is a Citizen of the United States and at all times alleged herein was a

resident of Preble County. Ohio.
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3.Plaintiff Nathan Hake Farms, LLC., is a limited liability corporation registered in the State of

Ohio,


4.Plaintiff Wheel Polishing Pros, LLC., is a limited liability corporation registered in the State of

Ohio,


5. Defendant Michael Simpson is and at all times alleged herein was the Sheriff of Preble

County, Ohio, and is being sued in both his official and her individual capacities,


6. Defendant Michael Spitler is and at all times alleged herein was a deputy of the Sheriff of

Preble County, Ohio, and is being sued in both his official and her individual capacities,


7. Paul Plaugher is and at all times alleged herein was a deputy of the Sheriff of Preble County,

Ohio, and is being sued in both his official and her individual capacities,


8. Raymond Hatfield is and at all times alleged herein was a deputy of the Sheriff of Preble

County, Ohio, and is being sued in both his official and her individual capacities,


9. Defendant Randy Johnson is a Citizen of the United States and at all times alleged herein was

a resident of Preble County. Ohio.


10. Defendant Pamela Johnson is a Citizen of the United States and at all times alleged herein

was a resident of Preble County. Ohio.


11. Defendant Glen Blacker is a Citizen of the United States and at all times alleged herein was a

resident of Preble County. Ohio.
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12. Defendant James C. Ellis is a Citizen of the United States and at all times alleged herein was

the attorney for Defendants Noble Opportunity Fund II, LP. and Greenwich engaged in debt

collection,


13. Defendant Mark Florence is a Citizen of the United States and at all times alleged herein was

the attorney for Defendant LCNB Bank engaged in debt collection for the bank,


14. Defendant Noble Opportunity Fund II, LP.is a corporation doing business in the State of

Ohio, its statutory agent is CT Corporation System, 4400 East Commons Way, Suite 125,

Columbus Ohio 43219


15. Defendant Greenwich is a corporation doing business in the State of Ohio, its statutory agent

is CT Corporation System, 4400 East Commons Way, Suite 125, Columbus Ohio 43219


16. Defendant LCNB Bank.is a corporation doing business and whose main office is in the State

of Ohio,


17. Defendant Jeff Meeker is and at all times herein an LCNB National Bank Officer.




First Cause of Action: Deprivation of Constitutional Rights Due Process of Law

18. Plaintiff repeats paragraphs 1 through 13 as if fully rewritten herein

19. Plaintiff Nathan Hake (hereinafter “Hake”) is the owner of four properties located in Preble

County, Ohio:

a.0 Wolverton Road, Eaton, Ohio 45320

b. 4919 Wolverton Road, Eaton, Ohio 45320
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c. 8392 Crawfordsville Campbellstown Road, Eaton, Ohio 45320

d. 0 Crawfordsville Campbellstown Road, Eaton, Ohio 45320

20. Hake took loans from Defendant LCNB (formerly Eaton National Bank) which were listed as

amounts owed and unpaid in a Judgment and Decree for Sale filed in the Common Pleas Court

of Preble County, Ohio on December 29, 2014, these amounts were as follows:

a. $677,624.75,

b. $107,976.61

c. $187,999.86

d. $209,637.81

e. $16,429.09

f. $423,319.53

21. All loans were alleged to be taken by Hake and his former wife.

22. Plaintiff Nathan Hake Farms, LLC. was a co-debtor on the final loan of $423,319.53.

23. The December 29, 2014 Judgment and Decree of Sale ordered the sale of the properties listed

in para. 19 to satisfy the debts listed in para. 20 although the action was commenced with an

unsigned complaint contrary to Ohio law.

24. The $423,319.53 debt derives from a loan alleged to have been made on May 3, 2013.

25. In an Affidavit signed by Matthew P. Layer, Executive Vice-President of Defendant LCNB,

September 30, 2015, the alleged debt of $423,319.53 derived from a loan of $410,000.00 which
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was a refinancing of the original loan of $590,000.00 that appears as the $677,624.75 in the

Judgment and Decree of Sale.

26. Layer’s Affidavit states that this note was lost and unavailable.

27. The inability of Defendants LCNB, Greenwich and Noble did not become known to the

Plaintiffs until Layer’s affidavit was provided in discovery in Plaintiff Hake’s bankruptcy

proceedings on September 17, 2017.

28. The Preble County Common Pleas Court issued a Judgment on December 29, 2014 in which

it double-counted the original loan represented by the $677,624.75 amount and the $423,319.53

that represents the refinancing of this original loan, according to Layer’s affidavit, and for which

the Note cannot be produced.


29, During March, 2015, Defendants LCNB aided by their attorney Defendant Mark Florence,

attempting to collect on these alleged debts, and Defendants Sheriff Simpson and Deputies Paul

Plaugher and Raymond Hatfield took farm equipment including tools and a tractor belonging to

Plaintiffs Nathan Hake Farms, LLC and Wheel Polishing Pros, LLC, Defendants LCNB and

Florence subsequently failing to appear for a required replevin hearing, but retaining the property

without the note for the debt, contrary to 15 U.S.C. §1692.


30. Defendant Jeff Meeker, an LCNB National Bank Officer drove Nathan Hake Farms LLC

Tractor, a 2013 Case IH Magnum 290 to the bank and chained it to a telephone pole, after filling

it with diesel fuel, of which the tractor and the fuel were not on the list of items to be taken by

sheriff, and no judgment against LLC. Contrary to 15 U.S.C. §1692.
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31. Plaintiff Hake filed for bankruptcy on March 26, 2015 under Chapter 11, 3:15-bk-30933, and

a stay was issued,

32. This bankruptcy case was dismissed on April 9, 2015,

33. On April 10, 2015 Hake filed a bankruptcy farm petition under Chapter 12, 3:15-bk-31131,

and a stay was issued,

34. This case was dismissed on November 18, 2016,

35. Hake then re-filed his Chapter 12 action on April 4, 2017, 3:17-bk-31079, and a stay was

issued,

36. This case was dismissed on April 19, 2017,

37. Hake’s then wife filed pro se under Chapter 7 on April 20, 2017, 3:17-bk-31277 and a stay

was issued,

38. This case was dismissed on July 18, 2017,

39. Due to an error in Hake’s ex-wife’s pro se filing her attorney filed a subsequent Chapter 7

case for her on May 4, 2017, 3:17-bk-31454 and a stay was issued.

40. On an agreed entry permitting the sale of the real property was entered in this case on June 5,

2017,

41. This Chapter 7 case remains pending.

42. On August 24, 2017, Hake again filed for Chapter 12 relief 3:17-bk-32696 and a stay was

issued,

43. This case was dismissed on October 5, 2017,
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44. Plaintiff Nathan Hake Farms, LLC filed for Chapter 12 relief on November 25, 2017, 3:17-

bk-33681 and an explicit stay was issued by the Bankruptcy Court and served upon Defendant

Noble.

45. This case remains pending.

46. Nonetheless, Defendant Noble, through its attorney, Defendant Ellis, attempting to collect on

these debts, having been served with this stay and, including a copy of said stay, filed to execute

on the properties of the Plaintiffs Hake and co-debtor Nathan Hake Farms, LLC, on November

27, 2017 contrary to 11 U.S.C. §§362 and 1201 and, 15 U.S.C. §1692..

47. Notwithstanding being advised of this stay, the Preble County Common Pleas Court ordered

the sale of these properties by Defendant Sheriff Simpson on December 22, 2017.

48. Defendant Simpson has also begun to harvest Plaintiffs’ crops, contrary to 11 U.S.C. §§362

and 1201 and, 15 U.S.C. §1692.

49. Defendant Simpson was aware of this stay and his Chief Deputy Michael Spitler discussed it

with Hake by telephone on December 2, 2017 stating that he would proceed with the harvesting

because Defendant Ellis had told him to do so, contrary to 11 U.S.C. §§362 and 1201 and, 15

U.S.C. §1692.

50. An order permitting the harvesting of Plaintiffs’ crops was granted on November 13, 2017

although the Common Pleas Court acknowledged the imminent filing of Plaintiff LLC’s filing of

its Chapter 12 petition, which resulted in the November 25, 2017,

51. Defendant Randy Johnson cut the crops for Noble, although his wife Defendant Pamela

Johnson was served with the stay on November 25, 2017 at approximately 10 am, by Steven R
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Moore, Statutory agent for Nathan Hake Farms LLC. Johnson after being served, continued to

remove and deliver grain to BUNGE North America Morristown, Indiana on Monday November

27, 2017 at the direction of Defendant Ellis, prior to any further order by Judge Abruzzo.

contrary to 11 U.S.C. §§362 and 1201 and, 15 U.S.C. §1692.




52. Defendant Glen Blacker owns Farm to East of Plaintiffs and rents his farm to Johnson. After

Johnson was served, he removed combine (approx 250-300 bushels and tractor and auger cart

(470 bushels) full of soybeans to Defendant Blacker’s property and kept them there until

Monday. Mr Blacker has also been assisting Defendant Randy Johnson with the harvest of

beans, operation of equipment contrary to 11 U.S.C. §§362 and 1201 and, 15 U.S.C. §1692. He

was informed of a Bankruptcy Stay on November 25, 2017 at 10:50 am via telephone.

53. Defendant Pamela Johnson was served on November 25, 2017 at approximately 10 am, by

Steven R Moore, Statutory agent for Nathan Hake Farms LLC. She directly called Randy, her

husband and informed him of the stay.

54. Accordingly, Defendants proceeded to deprive the Plaintiffs of both real and personal

property by foreclosing upon and physically removing the Plaintiffs property without evidence of

indebtedness which fact they concealed until September 15, 2017 and, in defiance of a stay

issued by the Bankruptcy Court in violation of Plaintiffs’ right to due process of law and contrary

to 11 U.S.C. §§362 and 1201 and, 15 U.S.C. §1692.

55. WHEREFORE, Plaintiff Hake, Plaintiff Nathan Hake Farms, LLC. And Wheel Polishing

Pros, LLC demand that the Defendants be held joint and severally liable for actual damages in

the amount of $1,622,987.65 and $175,000.00 for harvested crops and $300,000.00 for illegally

taken farm equipment and tools, and punitive damages in excess of $2,000,000.00 to be
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determined by the trier of fact, and be subject to any and all appropriate injunctive and

declaratory relief , plus costs and reasonable attorney's fees.

Second Cause of Action: Conspiracy for Deprivation of Constitutional Rights
56. Plaintiff repeats paragraphs 1 through 55 as if fully rewritten herein,

57. Defendants Ellis, Noble, Simpson, Spitler, Randy Johnson, Pamela Johnson, Blackers,

LCNB and Florence planned and acted in concert to deprive the Plaintiffs of their rights to due

process of law and committed overt acts of concealment, fraudulent court filings, ignoring of an

order of the Bankruptcy Court, conversion of property and trespass in furtherance of this

conspiracy to obtain both real and personal property from the Plaintiffs.

58. WHEREFORE, Plaintiff Hake, Plaintiff Nathan Hake Farms, LLC. And Wheel Polishing

Pros, LLC demand that the Defendants be held joint and severally liable for actual damages in

the amount of $1,622,987.65 and $175,000.00 for harvested crops and $300,000.00 for illegally

taken farm equipment and tools, and punitive damages in excess of $2,000,000.00 to be

determined by the trier of fact, and be subject to any and all appropriate injunctive and

declaratory relief , plus costs and reasonable attorney's fees.

Third Cause of Action: Conversion

59. Plaintiff repeats paragraphs 1 through 58 as if fully rewritten herein,

60. Plaintiff Hake was the lawful owner of the real estate listed in para. 15 herein.

61. Plaintiffs Nathan Hake Farms, LLC and Wheel Polishing Pros. LLC were the lawful owners

of the farm equipment listed in para. 25 herein.
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62. Plaintiffs Hake and Nathan Hake Farms, LLC are the lawful owners of the crops harvested

by Defendants Ellis, Noble, Simpson, Spitler, Randy Johnson, Pamela Johnson, Blackers,

63. Defendants converted the property referenced in paras. 51-52 to their own use.

64. WHEREFORE, Plaintiff Hake, Plaintiff Nathan Hake Farms, LLC. And Wheel Polishing

Pros, LLC demand that the Defendants be held joint and severally liable for actual damages in

the amount of $1,622,987.65 and $175,000.00 for harvested crops and $300,000.00 for illegally

taken farm equipment and tools, and punitive damages in excess of $2,000,000.00 to be

determined by the trier of fact, and be subject to any and all appropriate injunctive and

declaratory relief, plus costs and reasonable attorney's fees.




Third Cause of Action: Trespass

65. Plaintiff repeats paragraphs 1 through 64 as if fully rewritten herein,

66. Defendants Spitler, Randy Johnson, Pamela Johnson, Blackers, intentionally entered upon

the premises of Plaintiff Hake to take farm equipment and crops knowing such action was in

violation of a stay of the Bankruptcy Court and based upon concealment, misrepresentation and

fraud in court filings.

67. WHEREFORE, Plaintiff Hake demand that the Defendants Spitler, Randy Johnson, Pamela

Johnson, Blackers be held joint and severally liable for actual damages in the amount of

$175,000.00 for harvested crops and $300,000.00 for illegally taken farm equipment and tools,

and punitive damages in excess of $2,000,000.00 to be determined by the trier of fact, and be
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subject to any and all appropriate injunctive and declaratory relief, plus costs and reasonable

attorney's fees.

Fourth Cause of Action: Fraud

68. Plaintiff repeats paragraphs 1 through 67 as if fully rewritten herein,

69. Defendants LCNB, Greenwich, Noble, Florence and Ellis knew that they did not possess the

Note for the loan for $410,000.00 which was to refinance the previous loan of $590,000.00 or

were reckless in this regard and concealed this fact in order to mislead the court of common

pleas and the bankruptcy court and the Plaintiffs so as to wrongfully take and/or convert their

real and personal property.

70. WHEREFORE, Plaintiff Hake, Plaintiff Nathan Hake Farms, LLC. And Wheel Polishing

Pros, LLC demand that the Defendants LCNB, Greenwich, Noble, Florence and Ellis be held

joint and severally liable for actual damages in the amount of $1,622,987.65 and $175,000.00 for

harvested crops and $300,000.00 for illegally taken farm equipment and tools, and punitive

damages in excess of $2,000,000.00 to be determined by the trier of fact, and be subject to any

and all appropriate injunctive and declaratory relief, plus costs and reasonable attorney's fees.

Fifth Cause of Action: Civil Conspiracy

71. Plaintiff repeats paragraphs 1 through 70 as if fully rewritten herein,

72. The Defendants maliciously combined and conspired to deprive the Plaintiffs of their real

and personal property as described hereinbefore causing them to lose said property by

committing the overt acts of concealment, fraudulent court filings, ignoring of an order of the
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Bankruptcy Court, conversion of property and trespass in furtherance of this conspiracy to obtain

both real and personal property from the Plaintiffs..

73. WHEREFORE, Plaintiff Hake, Plaintiff Nathan Hake Farms, LLC. And Wheel Polishing

Pros, LLC demand that the Defendants be held joint and severally liable for actual damages in

the amount of $1,622,987.65 and $175,000.00 for harvested crops and $300,000.00 for illegally

taken farm equipment and tools, and punitive damages in excess of $2,000,000.00 to be

determined by the trier of fact, and be subject to any and all appropriate injunctive and

declaratory relief, plus costs and reasonable attorney's fees.

                                                        Respectfully submitted,

                                                        s/ George A. Katchmer
                                                        Attorney at Law (0005031)
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